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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

JOSEPH THOMAS; VERNON AYERS;
and MELVIN LAWSON                                                                   PLAINTIFFS

v.                                                                NO. 3:18-cv-00441-CWR-FKB

PHIL BRYANT, Governor of the State of
Mississippi; DELBERT HOSEMANN,
Secretary of State of the State of Mississippi;
and JIM HOOD, Attorney General of the
State of Mississippi, all in the official capacities
of their own offices and in their official
capacities as members of the State Board
of Election Commissioners                                                         DEFENDANTS

           MOTION TO CONVENE THREE-JUDGE DISTRICT COURT OR,
         IN THE ALTERNATIVE, TO DISMISS FOR LACK OF JURISDICTION

        Come now defendants in this action and respectfully move this Court to convene a three-

Judge District Court under 28 U.S.C. § 2284(a) or, in the alternative, to dismiss the complaint for

lack of jurisdiction under Fed. R. Civ. P. 12(b)(1), and would show unto the Court in support

thereof the following:

        1.      Defendants hereby request, pursuant to 28 U.S.C. § 2284(b)(1), that a District Court

of three Judges be convened.

        2.      Because § 2284(a) is jurisdictional, this complaint must be dismissed unless a

District Court of three Judges is convened.

        3.      Defendants seek this relief for the reasons set forth in the supporting brief filed

concurrently herewith.

        WHEREFORE, PREMISES CONSIDERED, defendants respectfully move that this Court

convene a District Court of three Judges or, in the alternative, dismiss this complaint for lack of

jurisdiction.

        This the 24th day of January, 2019.
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                                 Respectfully submitted,

                                 s/ Michael B. Wallace
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                                 MISSISSIPPI, AND DELBERT HOSEMANN,
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                                 CERTIFICATE OF SERVICE

        I, Michael B. Wallace, hereby certify that I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will automatically send email notification to all counsel
of record.

       This the 24th day of January, 2019.

                                               s/ Michael B. Wallace
                                               Michael B. Wallace




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